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                                                                         OJC MEDICAL SERVICES BUILDING - PROJECT DELIVERY COMPARISON SCHEDULES

                                                       Duration                                                                   MONTHS
  No.    Description                                    Days       1     2     3     4     5    6     7      8   9   10   11    12 13 14       15   16   17   18    19   20    21      22      23      24      25      26      27      28      29     30      31
CURRENT PH. III DESIGN
   1     Complete Design Phase                           180
   2     Procurement Phase                               90
   3     Construction Phase                              545
   4     Closeout/Occupancy                              60
   5     CNO Conditional Use/FEMA 106                    180
         Notes
            FEMA's review process for a new Phase III jail building could take 60 - 120 days to complete.

          The City and FEMA have not yet engaged in the Section 106 process to work through the Environmental Justice public
         outreach process, which is estimated to take at least 4-6 months. Any concerns identified by the public would need to be
         addressed before the FEMA Environmental and Historic Preservation (EHP) team would clear the project for Public
         Assistance (PA) approval (see Activity Number 5 above).

          The total number of beds in the current Phase III design is 89 male/ female medical and mental acute/ sub-acute
         inmates plus 14 infirmary beds for the general population. The total OJC bed count will be 1,541.

          The estimated cost of the current Phase III plan considering the Value Engineering (VE) items recommended by
         Grace Hebert Curtis Architects and Hill International is $49,347,235.


                                                         Duration                                                                MONTHS
  No.    Description                                       Days       1     2    3     4     5    6      7     8     9   10 11 12 13 14        15   16   17   18    19   20    21      22      23      24      25      26      27      28      29     30      31
OJC 2nd Floor Retrofit Project
   1     FEMA Approval of Renovation Option                 60
   2     Design Phase                                      120
   3     Procurement Phase                                  90                                                                                                     Occupy Pods 2C & 2D
   4     Construction Phase                                180                                                                                                                10 mos. project delivery variance vs. current Ph. III plan (see above)
   5     Final Occupancy/Closeout                           60                                                                                                                ------- ------- ------- ------- ------- ------- ------- ------- ------- -----
   6     CNO Conditional Use/FEMA 106                      180                                                                                                                Occupy Pod 2A
         Notes
          The City will need to package a formal request to FEMA for consideration and approval of this new option to
         utilize A/E funding obligated to design the retrofit option. If FEMA deems the submitted package acceptable and
         sufficient, it may be possible to clear the A/E design costs within 60 days of the submittal (see Activity Number 1
         above).
         • This scenario assumes the availability of pods 2C (currently holding juvenile inmates that can be moved to the
         Juvenile Justice Intervention Center) , 2D (male general population, low security), and 2A (currently housing male sub-
         acute inmates) for renovation. The inmates currently housed in pods 2C, 2D, and 2A could be relocated to other pods
         based on recommendations and close coordination with the Sheriff. This proposed project delivery work plan
         completes the first 2 pods (2C and 2D) in 6 months from the start of construction and the final pod (2A) 2 months later
         for a total construction duration of 8 months (see Activity Numbers 4 and 5 above).

         • Preliminary designs for the retrofit would need to be developed and made available to FEMA in order to move
         forward to the next phase, which includes public outreach efforts (see Activity Numbers 2 and 6 above).

          The City and FEMA would need to coordinate to begin the Environmental Justice public outreach efforts based
         upon preliminary design documents as required by Section 106, which is estimated to take at least 4-6 months. Any
         concerns identified by the public would need to be addressed before the FEMA Environmental and Historic
         Preservation (EHP) team would clear the project for Public Assistance (PA) approval (see Activity Number 6 above).

          The total number of beds in the 2nd floor renovation option is 117 male/ female medical and mental acute/ sub-
         acute inmates). Infirmary care could remain on the 4th floor of OJC or inmates could be transported to University
         Medical Center (UMC). The total OJC bed count will be 1,375.

            The estimated cost of the 2nd floor renovation is $9 million.

                                                                   1     2     3     4     5    6     7      8   9   10   11    12   13   14   15   16   17   18    19   20    21      22      23      24      25      26      27      28      29     30      31
